Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 1 of 51



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                       Case No.:


  WYNDHAM VACATION OWNERSHIP,
  INC. a Delaware corporation; WYNDHAM
  VACATION RESORTS, INC., a Delaware
  corporation,     WYNDHAM       RESORT
  DEVELOPMENT CORPORATION; an
  Oregon       Corporation, and   SHELL
  VACATIONS, LLC, an Arizona limited
  liability company,

        Plaintiffs,

  v.

  US CONSUMER ATTORNEYS, P.A., a
  Florida professional corporation; HENRY
  PORTNER, ESQ. an individual; and
  ROBERT SUSSMAN, an individual;
  PLUTO MARKETING INC., a Nevada
  corporation; and 1PLANETMEDIA INC, a
  Nevada corporation; JOHN DOES #1-50;
  NEWTON GROUP TRANSFERS, LLC, a
  Michigan limited liability company; THE
  NEWTON GROUP, ESA LLC, a Michigan
  limited liability company; and DC
  CAPITAL LAW FIRM, LLP, a Washington
  D.C. limited liability partnership,

        Defendants.


                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

        Plaintiffs Wyndham Vacation Ownership, Inc. (“WVO”); Wyndham Vacation Resorts,

  Inc. (“WVR”); Wyndham Resort Development Corporation (“WRDC”); and Shell Vacations,

  LLC (“SV”) (collectively, “Wyndham”), through counsel and pursuant to the Federal Rules of

  Civil Procedure, hereby sue Defendants US Consumer Attorneys, P.A. (“USCA”), Henry



                                              1
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 2 of 51



  Portner, Esq. (“Portner”), Robert Sussman (“Sussman”), Pluto Marketing, Inc. (“Pluto”),

  1Planetmedia, Inc. (“1 Planet”), John Does #1-50, Newton Group Transfers, LLC (“Newton

  Group”), The Newton Group, ESA LLC (“Newton ESA”), and DC Capital Law Firm, LLP (“DC

  Law”) (collectively, “Defendants”), and state as follows:

         A. BACKGROUND ON THE TIMESHARE INDUSTRY AND DEFENDANTS’
            TARGETED AND NEFARIOUS SCHEME

         1.      Timeshare properties, also known as vacation rentals, revolutionized the vacation

  and travel industry and have been a popular option for families for decades. Prior to the

  inception of the timeshare industry in the United States, anyone wanting to vacation in the same

  destination each year faced the limited options of (a) booking a hotel in advance and paying the

  daily rate (assuming availability) or (b) purchasing a vacation property (a significant financial

  investment with ongoing obligations of care, repair, and maintenance).

         2.      The birth of the innovative timeshare concept in the 1970s changed the vacation

  landscape. Now, developers, like Wyndham, can divide a single vacation unit between 52

  owners, with each owner purchasing fractional interest of the whole for a specified share of the

  total price, i.e. deeded ownership. Developers, like Wyndham, also sell membership interests to

  consumers in the form of points, which, in turn, are exchanged for use at Wyndham properties.

  Wyndham owners may also belong to a Wyndham program called ‘Club Wyndham Plus’, which

  allows owners to use their ownership at Wyndham resorts to stay at additional properties that

  Wyndham does not own, further expanding consumer’s choices.

         3.      This concept has allowed consumers an incredible opportunity to enjoy regular

  vacations at the fraction of the typical cost and without the burdens associated with undivided

  vacation property ownership. Moreover, in exchange for payment of a regular maintenance fee,




                                                  2
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 3 of 51



  timeshare owners receive assurance of high quality resorts every year, while simultaneously

  avoiding rising future prices.

         4.      Today, the timeshare industry continues to thrive. As reported by the American

  Resort Development Association (“ARDA”), “the timeshare industry remains healthy, showing

  that owners have become increasingly engaged with their timeshares and the timeshare lifestyle,

  while the industry continues to attract new buyers.” As of 2016, 9.2 million households in

  America were timeshare owners.

         5.      Recently, however, a nefarious cottage industry known as “timeshare exit” has

  sprouted. This insidious industry preys upon unsuspecting timeshare owners, inducing them into

  breaching their binding timeshare contracts, causing both the consumers and timeshare

  developers, like Wyndham, grave harm.

         6.      These timeshare exit businesses typically demand exorbitant up-front payment

  from consumers, and then do little or nothing on behalf of the consumer, often leaving the

  consumer with ruined credit. To make matters worse, many consumers that may have an issue

  with their timeshare product could have the issue resolved by simply contacting the timeshare

  developer, such as Wyndham, directly or utilizing one of the many programs created by the

  timeshare industry for consumers, such as the Wyndham Ovation® program.

         7.      Defendants, acting in concert, have engaged in a scam to take advantage of

  timeshare owners and cause Wyndham, its business, and its established brand millions of dollars

  in damages. Defendants maliciously and purposefully act, using shell companies and websites,

  as well as lawyers and sham law firms that are really lawyer referral services and are improperly

  related to non-lawyer ‘marketing’ firms, to divert or to otherwise hide, and abscond with funds

  from consumers that own Wyndham timeshare products (“Wyndham Owners”) and interfere



                                                 3
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 4 of 51



  with the current and prospective contractual relationships between Wyndham Owners and

  Wyndham.

         8.       Defendants engage in extensive and prolific false advertising, make untrue

  statements and deceptively misleading empty promises, and guarantee success or specific results

  that they cannot – and do not – deliver to unsuspecting timeshare owners (including Wyndham

  Owners), all the while surreptitiously extracting exorbitant, unwarranted fees for illusory

  services – fees that otherwise would have been used to pay Plaintiffs for amounts legitimately

  owed to them.

         9.       Defendants’ misdeeds and practices have caused significant financial and

  reputational damage to Wyndham. In addition to lost revenues, Wyndham is further damaged by

  the loss of goodwill to its customer base whom may be required to pay more maintenance and/or

  annual fees than contemplated due to non-payment by others, and tarnishment of Wyndham’s

  reputation and brand, as well as lost revenue associated with the loss of repeat business, referrals,

  and upgrades by existing Wyndham Owners, and the costs, losses, and fees related to the

  substantial resources utilized and expended to address the results of Defendants’ actions.

         10.      Wyndham has no other option but to actively and aggressively seek justice for

  itself, as well as injunctive relief to thwart Defendants from inflicting further and ongoing

  damage to Wyndham’s business and, most importantly, its relationships with Wyndham Owners.

         B.       OVERVIEW OF THE COMPLAINT

         11.      In pursuing its legal and equitable remedies here, Wyndham is vindicating its own

  rights in response to the ongoing damage being done to it by Defendants, which has culminated

  in millions of dollars of lost revenue. Further, as a concomitant effect, Wyndham is also

  protecting from further harm the Wyndham Owners, and timeshare owners at large, who have



                                                   4
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 5 of 51



  been negatively impacted by Defendants’ wrongful conduct, and otherwise positively impacting

  the timeshare industry.

         12.      Wyndham institutes this action to halt the Defendants’ misconduct, recoup its

  damages, preserve its goodwill in its customer base and brand strength, and to deter future

  improvident conduct against Wyndham and the Wyndham Owners, whose relationships with

  Wyndham are being decimated as a direct result of Defendants’ nefarious and unlawful actions.

         C. PARTIES, JURISDICTION, AND VENUE

                  a. The Plaintiffs

         13.      Plaintiff Wyndham Vacation Ownership, Inc. is a corporation organized and

  existing under the laws of the State of Delaware with a principal place of business located at

  6277 Sea Harbor Drive, Orlando, Florida 32821.

         14.      Plaintiff Wyndham Vacation Resorts, Inc. is a corporation organized and existing

  under the laws of the State of Delaware with a principal place of business located at 6277 Sea

  Harbor Drive, Orlando, Florida 32821.

         15.      Plaintiff Wyndham Resort Development Corporation is a corporation organized

  and existing under the laws of the State of Oregon with a principal place of business located at

  6277 Sea Harbor Drive, Orlando, Florida 32821.

         16.      Plaintiff Shell Vacations LLC is a limited liability company organized and

  existing under the laws of the state of Arizona with a principal place of business located at 6277

  Sea Harbor Drive, Orlando, Florida 32821.

               b. The Defendants

         17.      USCA is a professional corporation organized and existing under the laws of the

  state of Florida with an alleged principal address at 6586 Hypoluxo Road, Suite 300, Lake



                                                  5
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 6 of 51



  Worth, Florida 33467. This Court therefore has personal jurisdiction over USCA. In reality,

  USCA’s main office is located at 1300 North Johnson Avenue, Suite 107, El Cajon, California

  92020.

           18.   Portner is an individual and an attorney licensed to practice law in multiple

  jurisdictions, including the state of Florida under Florida Bar Number 883050. Portner is,

  allegedly, the principal of USCA and lists his official mailing address with The Florida Bar as

  being the mailing address for USCA (6586 Hypoluxo Road, Suite 300, Lake Worth, Florida

  33467). Portner is a resident of the state of Florida and Palm Beach County, Florida, as he

  maintains a home address at 6316 Vireo Court, Lake Worth, Florida 33463. Portner has claimed,

  and continues to claim, the Florida Homestead Exemption for the property located at 6316 Vireo

  Court.

           19.   Sussman is an individual who is, and upon information and belief, holds himself

  out as, the manager of USCA. Sussman owns a home located at 1744 Eldon Court, El Cajon,

  California 92020.

           20.   Pluto is a corporation organized and existing under the laws of the state of

  Nevada. Pluto has represented to the Nevada Secretary of State that its principal address (that is,

  the address at which its officers may be contacted) is 7065 West Ann Rd, Suite 130-165, Las

  Vegas, Nevada 89130. However, according to Google Maps®, 7065 West Ann Rd, Suite 130 is

  a store operated under the name ‘The UPS Store’, which provides, inter alia, mailbox services.

  On information and belief, Suite 130-165 indicates that Pluto merely rents a mailbox at The UPS

  Store and that this address is not its actual place of business. Pluto, under the direction and

  control of Sussman, has registered and/or used numerous domain names including

  timesharefighter.com, tsrsonline.com, bestresortrentalandsale.com, dumpyourtimesharenow.com,



                                                  6
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 7 of 51



  timesharefighter.com, timeshareresalesource.com, and uscalaw.com, which it has utilized in

  connection with the actions taken by Defendants, in concert, as more fully described below.

             21.      1 Planet is a corporation organized and existing under the laws of the state of

  Nevada. 1 Planet r the Nevada Secretary of State that its principal address (that is, the address at

  which its officers may be contacted) is 7065 West Ann Rd, Suite 130-165, Las Vegas, Nevada

  89130. This is the same address used by Pluto. In reality, 1 Planet’s actual business address is

  1300 North Johnson Avenue, Suite 107, El Cajon, California 92020, the same business address

  utilized by USCA. 1 Planet is a marketing company that engages in nationwide advertising

  activities including, inter alia, marketing to consumers in the State of Florida.

             22.      John Does #1-40 are presently unknown affiliates and/or subsidiaries of 1 Planet.

  As detailed further below, Sussman (along with Portner) engage in substantial deceptively

  misleading online advertising in order to ‘downrank’ or otherwise bury or hide damaging stories

  about them. Many of these marketing campaigns include YouTube videos that appear to be

  PowerPoint presentations. Some of these presentations are also maintained on the website

  issuu.com (“Issuu”), which “gives anyone with digitally bound content the ability to upload and

  distribute       their   publications      worldwide.”1          One   such   presentation   is   located   at

  https://issuu.com/robertsussman/docs/renting_and_selling_a_timeshare_mad. The sixth slide of

  the presentation located at that website states, in part, “[t]he 1 Planet Media experts operate on

  the network with an adequate mix of Internet Marketing, with 40 subsidiaries, and many

  websites.” John Does #1-40 are these 40 subsidiaries advertised by Sussman’s Issuu account as

  working with 1 Planet to engage in the activities described hereinbelow. The true identities of




  1
      https://issuu.com/about (last accessed Aug. 31, 2018).

                                                               7
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 8 of 51



  these 40 subsidiaries are unknown and cannot reasonably determined at this time without the use

  of the Court’s subpoena power.

         23.    Similarly, John Does #41-50 are the “many websites” advertised on Sussman’s

  Issuu account as working with 1 Planet to engage in the activities described herein below. The

  true identities of these 40 subsidiaries are unknown and cannot reasonably determined at this

  time without the use of the Court’s subpoena power.

         24.    Newton Group is a limited liability company organized and existing under the

  laws of the state of Michigan with an alleged principal address located at 250 Monroe Avenue

  NW, Suite 400 PMB #6026, Grand Rapids, Michigan 49503. In reality, Newton Group operates

  out of facilities located at 1750 E Northrop Boulevard, Suite 170, Chandler, Arizona 85286.

         25.    Newton ESA is a limited liability company organized and existing under the laws

  of the state of Michigan with an alleged principal address located at 3148 Plainfield Avenue NE,

  Suite 283, Grand Rapids, Michigan 49525.

         26.    DC Law is a limited liability partnership organized and existing under the laws of

  the District of Columbia, with a principal address located at 700 12th Street NW, Suite 700,

  Washington, D.C. 20005.

                c. Subject Matter Jurisdiction

         27.    This Court has subject matter jurisdiction over the claims sounding in the Lanham

  Act alleged herein pursuant to 28 U.S.C. §§ 1331 and 1338. This Court has subject matter

  jurisdiction over the claims sounding in state law alleged herein pursuant to 28 U.S.C. § 1367 as

  the state law claims are so related to the Lanham Act claims that they form part of the same case

  or controversy.




                                                 8
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 9 of 51



               d. Personal Jurisdiction

         28.   This Court has personal jurisdiction over the Defendants for the following

  reasons:

               a.      over USCA as it is organized and existing under the laws of the State of

               Florida and directed its representation letters to Wyndham in Orlando, Florida;

               b.      over Portner as he is a Florida resident claiming the Florida Homestead

               Exemption;

               c.      over Sussman as he claims to be, and holds himself out as, a consultant to

               USA, an entity organized and existing under the laws of the State of Florida, and

               because the actions taken by Sussman, as more fully described herein below, are

               directed at consumers across the country, including consumers in the state of

               Florida. The contacts and actions described herein below, including, without

               limitation, the active management and running of a Florida-based business, are

               not isolated or limited, and are purposefully directed towards consumers in the

               state of Florida;

               d.      over Pluto because it is the registered owner of a number of domain names

               through which all Defendants operate, including, without limitation, uscalaw.com,

               which directs consumers to USCA’s main website, these actions are purposefully

               directed towards consumers in the State of Florida and cause the repeated, and not

               limited, transmission of files over the Internet into and out of the state of Florida;

               e.      over 1 Planet because it is a nationwide marketing company acting in

               concert with, controlled by, and working on behalf of, the other Defendants which

               regularly markets to consumers in the State of Florida; these actions are



                                                  9
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 10 of 51



              purposefully directed towards consumers in the State of Florida and are regular

              and recurring;

              f.     over John Does #1-40 as they are subsidiaries of, and outlets through

              which, 1 Planet operates and are therefore engaged in the same targeting of

              Florida consumers, and same communications in to and out of the State of

              Florida, as 1 Planet;

              g.     over John Does #41-50 as they are subsidiaries of, and outlets through

              which, 1 Planet operates and are therefore engaged in the same targeting of

              Florida consumers, and same communications in to and out of the State of

              Florida, as 1 Planet;

              h.     Over Newton Group as it directs representation letters to Wyndham in

              Orlando, Florida;

              i.     over Newton Group and Newton ESA as they are actively engaged in

              marketing and selling to residents of the State of Florida and actively solicit

              business in the State of Florida, and do in fact conduct business with residents of

              the State of Florida; and

              j.     over DC Law as it directed its representation letters to Wyndham in

              Orlando, Florida, is actively engaged in marketing and selling to residents of the

              State of Florida and actively solicit business in the State of Florida, and does in

              fact conduct business with residents of the State of Florida.

        29.   For the foregoing reasons, the Court has personal jurisdiction over all Defendants.




                                               10
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 11 of 51



                   e. Venue

           30.     Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §1391

   because, as described herein, a substantial part of the events giving rise to Plaintiffs' claims

   occurred in Florida, the ultimate entity through which Defendants ultimately harm the

   consuming public and Wyndham is USCA, a Florida-organized and Florida-based entity that

   resides in this District, and Defendants’ conduct giving rise to the claims set forth herein

   occurred in this District

                   f. Conditions Precedent, Attorneys’ Fees

           31.     All conditions precedent to the bringing and maintenance of this action have been

   performed, were waived, would be futile if attempted, or have otherwise been satisfied or

   occurred.

           32.     Wyndham has retained the services of the undersigned lawyers to represent it in

   this matter and have obligated themselves to pay reasonable attorneys’ fees, which fees are

   recoverable against Defendants pursuant to 35 U.S.C. § 1117 and other statutes, as set forth in

   greater detail herein.

           D. NATURE OF THE ACTION

           33.     This Complaint requests damages and injunctive relief for violation of the

   Lanham Act 15 U.S.C. § 1125(a)(1) prohibiting misleading and false advertising, Intentional

   Interference with Contractual Relations, Intentional Interference with Advantageous Business

   Relationships/Prospective Economic Advantage, Civil Conspiracy, and violation of the Florida

   Deceptive and Unfair Trade Practices Act.

           E. THE WYNDHAM ENTITIES




                                                  11
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 12 of 51



             34.   Wyndham is a global leader in the hospitality and vacation ownership industry

   with properties and a network spanning the world.

             35.   Wyndham Vacation Ownership, Inc. is the parent company or ultimate parent

   company of three entities that conduct timeshare sales and development activities throughout the

   United States: Wyndham Vacation Resorts, Inc., Wyndham Resort Development Corporation,

   and Shell Vacations LLC.

             36.   Wyndham devotes substantial resources to advertising and other marketing

   promotions in an effort to maintain and enhance the value of their established and famous

   brands.

             37.   As part of its business, WVR, WRDC and SV enter into timeshare contracts with

   consumers (e.g., the Wyndham Owners). At the time owners purchase timeshares from WVR,

   WRDC, and/or SV, the owners execute Contracts for Purchase and Sale wherein the owners

   agree to pay an amount certain for the timeshare interest, as well as maintenance and/or annual

   fees to the Plaintiffs for the upkeep of the timeshare units and common areas of the timeshare

   properties. In addition, the owners agree to pay a pro-rated share of the property taxes to

   Plaintiffs which is then submitted by Plaintiffs to the appropriate local tax collectors. Often, if a

   purchaser desires mortgage financing, he or she may apply for a mortgage, and after approval,

   may execute a Promissory Note and Mortgage, which are referenced and incorporated in the

   Purchase Agreement. These timeshare contracts are legally binding contracts and, after the

   passage of a statutory rescission period, cannot be unilaterally rescinded.

             38.   Wyndham Hotels and Resorts, LLC (“WHR”, f/k/a Wyndham Hotels and Resorts,

   LLC and formerly a sister company to WVO), owns, maintains and manages a portfolio of

   Wyndham related intellectual property. These intellectual property assets are utilized to market



                                                    12
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 13 of 51



   the Wyndham brand. Wyndham devotes significant resources to advertising and other marketing

   promotions to maintain and enhance the value of its brands. Wyndham has made and continues

   to make ongoing financial investments in the development and improvement of its products and

   services, and, further invests resources to preserve and enhance its brand value and the goodwill

   associated with its products and services. Indeed, visibility and recognition of its brand products

   and services is a key component to Wyndham’s business model. Wyndham competes directly

   with other marketers of resort products who share a similar consumer base.

          F. THE THIRD PARTY EXIT COMPANY (“TPE”) SCAM

          39.     Following the late 2007 recession, a small group of individuals hatched a plan to

   unscrupulously prey on timeshare owners affected by the economic downtown.                  These

   individuals seek economic gain at the expense of timeshare owners and timeshare developers,

   like Wyndham. Developers, such as Wyndham, are specifically targeted due to their size, the

   sheer number of Wyndham Owners, and number of Wyndham branded and managed properties

   throughout the U.S. and abroad.

          40.     These individuals, working together, have formed a relatively new underground

   sub-industry dubbed “third party exit companies” or “TPEs”, “PPEs”, or “affiliates”.

          41.     These various individuals and their TPEs, saw an opportunity to make fast cash

   from those suffering from the aftermath of the late 2007 recession and without the means to

   make regular timeshare payments.

          42.     Although there are variations of the TPE scam, the TPEs (often owned and

   managed by unsavory individuals) offer and allegedly provide timeshare interest “transfer”

   and/or “exit” (i.e. termination of existing contracts) services with respect to consumer resale of

   timeshare interests in timeshare properties.



                                                   13
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 14 of 51



          43.     Through various forms of deceptive advertising, including, without limitation,

   direct mailings and other communications crossing state lines, “data mining” on the internet, as

   well as inappropriate, unsolicited, direct contact with a timeshare developer’s owners, TPEs

   and/or their marketing firms make false statements about developers and/or the timeshare

   owners’ timeshare interests, provide deceptively misleading information to timeshare owners,

   and otherwise instruct owners to breach their contracts and stop payments on their timeshare

   agreements and/or maintenance fees, many times through creative “talking points” luring these

   individuals to act through a “pitch.”

          44.     These TPEs often charge consumers exorbitant upfront fees while failing to

   disclose to consumers what, exactly, the timeshare exit company will do for the consumer. In

   fact, TPEs frequently mislead consumers, either through blatantly false statements, or statements

   that, while potentially literally true, are deceptively misleading or only partially true.   For

   example, timeshare exit companies frequently state or imply that they have some sort of

   ‘method’ or ‘special method’ to assist consumers in ‘exiting’ their timeshare contracts. TPEs

   also frequently state or imply that consumers need to retain them because of their ‘method’ and

   that it will provide consumers with an advantage of some type in attempting to cancel their

   timeshare contracts. More specific examples of Defendants’ false and/or deceptively misleading

   statements are detailed herein. In reality, these TPEs have no method of helping consumers exit

   their timeshare contracts as no such method exists separate and apart from any program a

   timeshare company may choose to offer direct to consumers.

          45.     What these companies frequently do is fail to disclose to the consumers that they

   will, in fact, do very little, if anything, for the consumer and frequently force the consumer’s

   timeshare interest into default and eventually foreclosure, after which the TPE claims that it



                                                  14
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 15 of 51



   helped the consumer “exit” their timeshare contract. Frequently, the consumer is not aware that

   their timeshare interest was actually foreclosed and their credit rating adversely impacted. In

   sum, consumers are persuaded to pay TPEs for illusory services.

          46.     Another frequent variation of the TPE scheme is to fraudulently transfer a

   customer’s timeshare interest via quitclaim deed, or other instrument that has not been approved

   by the timeshare developer, to a third-party or strawman buyer who then fails to make payments

   on the timeshare interest as required.      Because the transfer was not approved, the resort

   developer looks to the original owner of the timeshare interest for payment while the original

   owner is completely unaware that they are still the legal owner of their timeshare interest.

          47.     For illustrative purposes, a common form of the TPE scheme works as follows.

   The timeshare exit company solicits timeshare owners, promising that the timeshare exit

   company can help the timeshare owner ‘effectively’ or ‘legally’ exit their timeshare contract.

   The timeshare exit company extracts an up-front payment (sometimes financed over time by the

   timeshare exit company itself) from the consumer. The timeshare exit company then uses an

   attorney to send a demand letter to the timeshare company – this attorney is retained directly by

   the timeshare exit company, not the consumer, but purports to represent the consumer. The

   demand letters usually state that the consumer wishes to cancel their timeshare, sometimes cite to

   irrelevant legal decisions, and tell the timeshare developer not to contact the consumer.

   Sometimes the demand letters reference the Fair Debt Collection Practices Act to further prevent

   any communication from the timeshare developer to the timeshare owner. Simultaneously, the

   timeshare exit company directs the timeshare owner not to speak to the timeshare developer,

   make no further payments on any outstanding loans and/or not to pay maintenance fees. Thus,

   the timeshare exit company has prevented the timeshare developer and timeshare owner from



                                                   15
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 16 of 51



   communicating with each other while directing the timeshare owner to take actions that will

   result in the timeshare owner defaulting on their timeshare contract and, eventually, a foreclosure

   of that interest. After the foreclosure, the timeshare exit company will claim it helped the

   consumer ‘exit’ their timeshare contract and refuse to refund any monies pursuant to the

   guarantees that were made to the consumer. USCA and DC Law engage in this type of scheme.

          48.     In sum, these TPEs charge timeshare owners exorbitant fees under the auspices

   that they will get them out of their timeshare contracts, but the services are illusory. They

   usually target large timeshare developers, like Wyndham, using unsuspecting timeshare owners

   as a vehicle to damage Wyndham.

          49.     Ultimately, not only is the developer’s relationship with its owners irreparably

   damaged, through the loss of goodwill and brand damage, but these developers are dramatically

   financially impacted by the loss of millions of dollars. As for the timeshare owners, they may

   face the loss of the monies paid, the loss of their timeshare interests through foreclosure, and/or

   significant negative impact on their credit, amongst other things. This odious misconduct has

   been historically insulated from attack, using shell companies or other similar scams. In many

   instances, once the TPE is shutdown via court intervention, a “new” TPE with the same

   principals is created and put in action.

          50.     Over the past decade, these TPE scams have refined their trade and the sub-

   industry has reached new heights and new level of damages.

          51.     TPE scams exist for the sole and improper purpose of inducing consumers,

   including, without limitation, Wyndham Owners, to breach their valid, binding timeshare

   agreements with Wyndham, thereby defrauding and harming the consuming public, including,

   without limitation, Wyndham Owners.



                                                   16
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 17 of 51



              52.   Defendants are one such TPE scam, as set forth in greater detail herein. For ease

   of reference, an Organizational Chart showing the inter-relationship amongst the Defendants is

   annexed hereto as Exhibit 1.

              G. USCA – A PURPORTED LAW FIRM

              53.   Unlike some other timeshare exit companies, USCA bills itself, and is apparently

   organized as, a law firm. However, as set forth hereinabove, USCA is apparently managed

   and/or run, at least in part, by Sussman, a non-lawyer and is directly linked with Pluto and 1

   Planet, non-law firm entities which ‘feed’ clients to USCA, advertise on behalf of USCA, and

   own various USCA-linked assets.

              54.   USCA is actually co-located with Sussman’s marketing companies (1 Planet and

   Pluto, and potentially their subsidiary entities), accepts illegal and improper referrals from these

   marketing companies, and splits fees with non-lawyer entities, violating various state bar rules,

   including, without limitation, Florida Bar Rule 4-7.22 regarding ‘Qualifying Providers, Lawyer

   Referral Services, Matching Services, Group or Pooled Advertising, Directories, and Tips or

   Lead Generators’. USCA’s advertising is false and deceptively misleading, and violates various

   state bar rules, including, without limitation, Florida Bar Rule 4-7.13 regarding ‘Deceptive and

   Inherently Misleading Statements’.

              55.   Portner and Sussman have a long history together. They have been – individually

   or together – parties to various lawsuits regarding their timeshare exit and advertising activities.

   Portner, individually, has been sanctioned twice by the Florida Bar and once by the United States

   Patent and Trademark Office for improper advertising practices and failing to properly represent

   clients.




                                                   17
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 18 of 51



          56.      Based on the various links between Portner, Sussman, and their various

   companies, it is unclear whether USCA is actually a law firm, a lawyer referral source, a lawyer

   directory, a combination of the foregoing, or something else entirely.         This is because, in

   addition to the apparently illegal or otherwise improper arrangement of having a non-lawyer with

   management authority over, and apparent profit-sharing in, a law firm, Defendants engage in a

   number of practices that appear to be incompatible with a law firm, and that are false and/or

   deceptively misleading, such as:

                a. offering guaranteed results (see Exhibit 2 annexed hereto);

                b. running advertisements that have, upon information and belief, not been

                   submitted to The Florida Bar (see id.);

                c. failing to disclose a ‘home office’ and locations where services are rendered;

                d. not disclosing who their attorneys are and telling consumers that they will simply

                   be assigned an ‘experienced timeshare attorney’ with a hyperlink that redirects

                   consumers to USCA’s homepage, www.usconsumerattorneys.com (see Exhibit 3

                   annexed hereto);

                e. claiming as ‘our lawsuits’ civil actions that were filed, apparently, by law firms

                   other than USCA, such as Case No. A-17-762690-C, currently pending in the

                   United States District Court for the District of Nevada;

                f. utilizing strawmen and other companies (such as Sussman, Pluto, 1 Planet, and

                   their related companies and websites) to engage in advertising activities; and

                g. making illusory promises to the consuming public, including Wyndham Owners,

                   in that the retainer agreements Wyndham Owners sign with USCA do not actually

                   require USCA to perform any work or services, and permit USCA to simply take



                                                    18
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 19 of 51



                  money for consumers for doing absolutely nothing (USCA has, in fact, been sued

                  in bankruptcy court for this very practice).

          H. LINKS BETWEEN SUSSMAN COMPANIES AND PORTNER AND USCA

          57.     As set forth above, there are a number of links between Sussman’s companies (1

   Planet, Pluto, and their various subsidiaries) and USCA. Those links are as follows.

          58.     Sussman previously had a company named Nevada National Advertising, Inc.

   (“NNA”), which was a marketing company serving the timeshare exit industry. Portner was also

   involved with NNA in various capacities, including as an attorney working on behalf of NNA.

   Like the Defendants in this civil action, NNA was co-located with some of Portner’s entities,

   including USCA.

          59.     NNA was eventually closed after lawsuits were filed against it (and, in some

   instances, Sussman and/or Portner) and claims successfully prosecuted.

          60.     Sussman holds himself out to the world as an expert in marketing.

                  a.     The Websites

          61.     Defendants have registered and used numerous domains names in an effort to hide

   their identities and interlinks, maximize their advertising reach and online advertising ranks, to

   lure as many customers as possible into their scheme, and to harm Wyndham. On information

   and belief, through Sussman and Portner’s control, Pluto and 1 Planet have registered a number

   of domain names, but done so using tools to shield their identify. However, Defendants allowed

   the privacy shield to expire on some of those domains.

          62.     One of the domain names where Defendants allowed the privacy shield to lapse is

   the domain <uscalaw.com>. <uscalaw.com> automatically redirects consumers to USCA’s main

   website, located at www.usconsumerattorneys.com.              See Exhibit 4 annexed hereto.



                                                   19
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 20 of 51



   <uscalaw.com> was previously registered behind a privacy shield but is no longer so protected.

   A copy of the Whois history for <uscalaw.com> is annexed hereto as Exhibit 5. The Whois

   history shows <uscalaw.com> was registered by Pluto Marketing, 7065 West Ann Road, Suite

   130-165, Las Vegas, Nevada 89130 by a person using the email address sschwarz@lveas.com.

          63.      The domain name <lveas.com> automatically redirects users to the domain name

   <lasvegaseventsandshows.com>, the website for Las Vegas Events and Shows (“LVEAS”). See

   Exhibit 6 hereto. Las Vegas Events & Shows is a mark registered in the State of Nevada (see

   Exhibit 7 hereto), registered to Nevada Magazine, 401 North Carson Street, Carson City, Nevada

   89701. Sussman was the online publishing partner of the magazine and owner of the domain

   <lasvegaseventsandshows.com>. A copy of a masthead from Nevada Magazine showing the

   relationship is annexed hereto as Exhibit 8.

          64.      It is therefore clear that Pluto, at the direction and control of Sussman and in

   conjunction with Portner and USCA, owns the domain <uscalaw.com>, which, together with

   Portner and USCA, has been set to automatically direct consumers to USCA’s website,

   www.usconsumerattorneys.com.

          65.      <uscalaw.com> is hosted on a computer or device utilizing the Internet Protocol

   (“IP”) address 64.50.173.131, located in California. See Exhibit 9 hereto.

          66.      The subnet for that IP address (that is, all IP addresses in the range of

   64.50.173.1-254) hosts a number of domain names that are related to the Defendants. See

   Exhibit 10 hereto.

          67.      Wyndham has been able to determine that Pluto is the owner of at least the

   following timeshare-related domain names:

                a. <timesharefighter.com>;



                                                  20
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 21 of 51



                b. <tsrsonline.com>;

                c. <bestresortrentalandsale.com>;

                d. <dumpyourtimesharenow.com>;

                e. <pacificmonarchabankruptcy.com>; and

                f. <timeshareresalesource.com>.

          68.      <bestresortrentalandsale>,                          <dumpyourtimesharenow.com>,

   <pacificmonarchbankruptcy.com>, <timesharefighter.com>, and <tsrsonline.com> are all hosted

   on a computer or device utilizing the same IP address: 64.50.173.124, located in California. See

   Exhibit 11 hereto. The domain <nevadanationaladvertising>, the domain for NNA, is also

   hosted at that same IP address. Id.

          69.      Pluto Marketing, utilizing the same sschwarz@lveas.com, is listed as the owner of

   the      following         of       the      aforementioned        domains:     <tsrsonline.com>,

   <dumpyourtimesharenow.com>, <timesharefighter.com>, and <timeshareforadollar.com> (in

   addition to <uscalaw.com>). A copy of the Whois information for these domains is annexed

   hereto as Exhibit 12.

          70.      It is therefore clear that Pluto, at the direction and control of Sussman and in

   conjunction with Portner and USCA, owns and operates at least the foregoing domain names.

          71.      Upon information and belief, Sussman and Portner, through USCA, Pluto, and 1

   Planet (or a combination of the three), have used a single web host to host webpages on each of

   these domains.     Those web pages are intentionally designed to infringe upon Wyndham’s

   intellectual property rights and engage in false advertising activities.

          72.      Those webpages presently host webpages that are clearly involved in the

   timeshare exit business.



                                                    21
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 22 of 51



          73.        www.dumpyourtimesharenow.com,                 the         webpage          hosted     at

   <dumpyourtimesharenow.com> (“Dump Your Timeshare”) is an obvious timeshare exit business

   and is clearly and obviously linked with USCA.

          74.        Dump Your Timeshare hosts a ‘wall of fame’ page, where ‘successful timeshare

   cancellation’       letters     are     displayed.              This       page       is      located   at

   http://dumpyourtimesharenow.com/successful-timeshare-cancellations.php#letters.

          75.        The Dump Your Timeshare ‘wall of fame’ page shows that Dump Your

   Timeshare targets Wyndham owners. There are at least two Wyndham related letters on the

   ‘wall of fame’.

          76.        While Dump Your Timeshare attempts to redact all information regarding the

   businesses and/or lawyers allegedly representing the consumers referenced therein, it appears

   that at least the following lawyers are listed as having worked with Dump Your Timeshare:

                a. Portner (working with NNA); and

                b. Mitchell Reed Sussman, Robert Sussman’s brother, and notorious timeshare exit

                     lawyer.

          77.        Dump Your Timeshare is clearly and obviously linked to USCA. Dump Your

   Timeshare hosts a ‘video’ (really, a slideshow) at http://dumpyourtimesharenow.com/timeshare-

   cancellation-presentation.php (the “DYT Video”).

          78.        USCA        also    hosts    a          ‘video’      (really,   a        slideshow)   at

   https://usconsumerattorneys.com/video/ (the “USCA Video”).

          79.        The DYT Video and USCA Video are very similar and, in various aspects,

   identical, in many ways, including, without limitation, the following:

                a. they are narrated by the same person;



                                                        22
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 23 of 51



           b. they are both approximately 24 minutes in length;

           c. they are both videos that are a series of slides;

           d. after a customized introduction, both show the following slide:




                                                                                     ;

           e. both then show the following slide:




                                                                                     ;

           f. both videos show the following slide to give the impression that after a timeshare

              interest is foreclosed upon, there will be mandatory garnishments and deficiency

              judgments against the consumers, which is not true as many states (including

              Florida) have laws that prohibit deficiency judgments in timeshare foreclosures:




                                                23
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 24 of 51




                                                                                       ;

           g. using identical examples (six in total), in the same order, of ‘Recent Special

              Assessments’;

           h. both show the following slide, which is false and/or deceptively misleading

              because the Defendants are not selective and will accept any person as a client:




           i. while showing the slides in subparagraph h, above, both videos claim their

              respective companies have a “100% success rate”, which is false and/or

              deceptively misleading because they do not have a 100% success rate as many of

              their customers have their timeshare interests defaulted, cancelled, forfeited,

              and/or foreclosed upon, which no reasonable consumer would consider a

              ‘success’ as anybody can default on a payment obligation by simply not paying
                                              24
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 25 of 51



              (meaning there is no reason to pay a third party thousands of dollars to default on

              a payment obligation);

           j. they both show the following slides, showing just how deceptive Defendants are,

              as the ‘process’ utilized by Dump Your Timeshare (which is not a law firm) and

              USCA (which ostensibly is a law firm) is identical, with the exception of Dump

              Your Timeshare using a “fully licensed specialist” while USCA utilizes an

              “experienced USCA Attorney”,




           k. a series of six slides allegedly showing examples of letters received by clients of

              Dump Your Timeshare (DYT Video) or USCA (USCA Video) ‘releasing’ the

                                               25
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 26 of 51



              customer of their timeshare obligations, the first five slides, and the letters they

              show, are identical, showing letters from the following timeshare companies in

              this order: Wyndham Vacation Resorts, Bluegreen Resorts, Hilton Grand

              Vacations, and Woodstone at Massanutten; these letters are false and/or

              deceptively misleading because a consumer cannot be a customer of both Dump

              Your Timeshare and USCA, yet these letters are presented as actual results

              obtained by each organization (which is not true) and thus amount to false

              endorsements, additionally, the USCA Video does not contain the necessary

              disclaimers required by the Florida Bar (and other state bar associations) and

              therefore violates the Rules Regulating the Florida Bar,




                                                                                       ;

           l. Dump Your Timeshare regularly refers to itself in the DYT Video as “U.S.

              Consumer Associates” both in the voiceover on the DYT Video and in a

              watermark in the bottom right hand corner of each slide of the DYT Video, which

              has the same acronym – USCA – as Defendant, USCA, this leads to false and/or

              deceptively misleading slides such as the following, where Dump Your

              Timeshare states that the fee a consumer pays to Dump Your Timeshare covers


                                               26
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 27 of 51



                    ‘as many hours as it takes’ of ‘legal research and preparation’ and ‘filing lawsuits

                    if necessary’,




                                                                                                            ; and

               m. both videos steal text from the website http://tcpaa.org/government-consumer-

                    protectorates-advisement/, the two videos then misquote the source (which is

                    itself a misquote of the original article from the July 2011 edition of The Costco

                    Connection, a copy of which is annexed hereto as Exhibit 13), which is false

                    and/or deceptively misleading,2




   2
     The TCPAA, which the two videos allege is a ‘consumer protection organization’ is nothing of the sort. It is
   actually an advertising front for The Abrams Firm, a timeshare exit ‘law firm’ in Olympia-Lacey, Washington run
   by John Phillip Abrams.

                                                         27
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 28 of 51




                                                                                                     ;

             b. The Call Center

             80.   Additionally, Defendants are interlinked by another of Sussman’s companies, 1

   Planet.

             81.   1 Planet is co-located in the same office as USCA.

             82.   1 Planet engages, at least, in the business of telemarketing solicitations. An

   example resume found for a former employee of 1 Planet is annexed hereto as Exhibit 14.

             83.   Upon information and belief, 1 Planet engages in these call center activities at the

   direction, behest, and for the benefit, of USCA. Alternatively, some combination of 1 Planet,

                                                    28
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 29 of 51



   Pluto, and/or USCA engages in direct telephone marketing (a/k/a “cold calling”) to consumers,

   including Wyndham Owners.

          c. Other Referral Sources

          84.     USCA also receives referrals from other sources, which sources engage in

   advertising that would be unethical for a lawyer to conduct.

          85.     Newton Group is a TPE that bills itself as “The #1 Trusted Timeshare Exit

   Company”       and    “The     #1     Trusted    Name      In   Timeshare       Exit”.   See

   http://newtongrouptransfers.com.

          86.     Newton Group has a related company, Newton ESA which is a marketing

   company (similar to 1 Planet and Pluto). The “ESA” in Newton ESA’s name stands for “elite

   sales associates”.

          87.     Newton ESA advertises that it provides the following services:




   Newton Group, and other, presently unknown timeshare exit companies, utilize Newton ESA’s

   services to market to consumers.



                                                   29
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 30 of 51



          88.     Newton ESA utilizes phone agent cold calling, phone agent lead cultivation, voice

   mail marketing, form emails, fax blasting, text messaging, and direct mail techniques. Examples

   of some of Newton ESA’s direct mailings are annexed hereto as Composite Exhibit 15. These

   mailings are false and/or deceptively misleading.

          89.     One of the letters Newton ESA sends on behalf of Newton Group (or that Newton

   Group sends on its own behalf) states the following




   This advertisement is false and/or deceptively misleading as there are no “new Timeshare Laws”

   that “allow[] developers to raise maintenance fees with no restriction.” This advertisement is

   designed solely to lie to the consuming public, including Wyndham Owners, and induce them to

   attend a meeting hosted by Newton Group.

          90.     Other advertisements utilized by Newton ESA and Newton Group (and other, as

   yet unknown timeshare exit companies), falsely imply they are from some type of governmental

   or other official agency. These mailings claim to come from the ‘Accounting Division’ of

   ‘Consumer Protection US’, utilize a seal that is designed to mimic seals used by governmental

   organizations, and purport to be sent by “Mark Tyler Settlement Official Agent No. 46211”, an

   individual that does not exist.

          91.     The purpose of Newton Group and Newton ESA’s false advertisements is to trick

   the consuming public, including Wyndham Owners, in to retaining Newton Group’s illusory

   timeshare exit services.




                                                  30
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 31 of 51



          92.     Newton Group offers two types of timeshare exit services: the ‘timeshare transfer

   exit’ and the ‘timeshare attorney exit’.

          93.     The Newton Group ‘timeshare transfer exit’ purports to be a process by which a

   timeshare interest is transferred from a consumer without the use of an attorney. What Newton

   Group actually does is engage in fraudulent deed transfers, using quit claim deeds (or other deeds

   that have not been countersigned by the timeshare company) to transfer the timeshare interests

   from the consumers to a strawman buyer, who then defaults on payments and suffers a mass

   foreclosure. Additionally, Newton Group falsely advertises their ‘skin in the game guarantee’

   whereby Newton Group states that a consumer will never pay Newton Group or the timeshare

   company any more money because Newton Group will become “financially responsible for your

   timeshare until it is out of your name” and that this is important because “[i]n this way, our goals

   are aligned. The longer it takes us to complete the transfer process, the more it cost us in fees to

   the resort. Both company and client want to see an expedient end to your timeshare ownership.”

   In reality, many consumers, including Wyndham Owners, have gone into default on their

   accounts because Newton Group does not assume financial responsibility for the timeshare

   interest and does not make required payments.

          94.     The Newton Group ‘timeshare attorney exit’ is essentially an illegal and improper

   attorney referral scheme. Newton Group advertises that




                                                   31
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 32 of 51




          95.     Newton Group refers consumers to USCA and DC Law, which then carry on the

   scheme as set forth in this Complaint. These referrals are a direct result of the false and

   deceptively misleading advertising engaged in by Newton Group and Newton ESA as set forth in

   the preceding paragraphs. USCA and DC Law pay for these false advertising services either

   through direct payments and/or allowing Newton Group and Newton ESA to keep a portion

   (frequently a substantial portion) of the fee paid to Newton Group by a consumer.

          d. Additional Advertisements

          96.     Defendants are engaged in a variety of additional false and/or deceptively

   misleading advertising activities.

          97.     USCA engages in Search Engine Optimization designed to increase its ‘page

   rank’ in searches and increase its exposure. In order to do this, USCA utilizes metadata, coding,

   utilizing numerous other websites to promote USCA, and backlinking. Presently, there are

   approximately 269 backlinks that are designed to increase the profile of USCA.

          98.     The USCA Defendants (USCA, Portner, Sussman, 1 Planet, and Pluto) purchase a

   substantial number of Google AdWords® to promote USCA. The USCA Defendants purchase

   29 AdWords® utilizing ‘Wyndham’, 7 AdWords® for ‘Worldmark’, and 2 AdWords® for


                                                  32
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 33 of 51



   ‘Shell’ on the desktop platform. The USCA Defendants purchase additional AdWords® for use

   on mobile platforms. These AdWords®, and the advertisements they trigger, are shown on

   Composite Exhibit 16. These ads are false and/or deceptively misleading as they repeatedly

   make statements like:

                a. “Guaranteed Timeshare Exit – Legally Exit Your Timeshare” (the USCA

                   Defendants cannot legitimately guarantee an exit and it is deceptively misleading

                   as a foreclosures, forfeitures, and defaults are technically ‘guaranteed’ methods of

                   ‘exiting’ a timeshare contract, though no reasonable consumer would ever pay

                   thousands of dollars to achieve a result – foreclosure – they could achieve on their

                   own by simply ceasing payments);

                b. “Forced & Tricked in[sic] Buying a Timeshare & Want Out?” (the USCA

                   Defendants imply that timeshare companies are engaged in criminal activities,

                   when combined with the USCA Defendants’ various websites and other

                   marketing (including, without limitation, Newton Group and Newton ESA), the

                   USCA Defendants deceptively mislead consumers into believing that completely

                   legal business practices are somehow illegal, misleading consumers into retaining

                   the USCA Defendants);

                c. “Scammed Into a Timeshare? - Exit Your Timeshare Contract.” (a variation on

                   subparagraphs (a) and (b) above); and

                d. “Top-rated Program” (there are no such ratings), a false and/or misleading

                   advertisement that Newton Group and Newton ESA also engage in.

          99.      The USCA Defendants make the following false and/or deceptively misleading

   statements on the USCA website:



                                                    33
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 34 of 51




          100.    None of the ‘tactics’ listed on the website are unethical or ‘considered coercive’

   or ‘fraudulent’ and none are legitimate grounds for legally terminating a timeshare contract.

          101.    USCA maintains a webpage dedicated to attacking Wyndham and making false

   and/or deceptively misleading statements about Wyndham to the consuming public, located at

   https://usconsumerattorneys.com/wyndham-resorts-timeshare.php.         This webpage makes a

   number of false and/or deceptively misleading statements, including that the USCA Defendants

   have a “proven, results-driven timeshare cancellation program” (forcing consumers into

   foreclosure is technically proven, results-driven, and a method of cancelling a timeshare contract,


                                                   34
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 35 of 51



   but no rational consumer would pay a third-party for a foreclosure, a remedy they could garner

   themselves and for free), that the USCA Defendants “successfully rid timeshare owners of their

   obligations” (same as the prior statement)

          102.    In their marketing videos (as set forth in Paragraph 79), the USCA Defendants

   represent that they have a 100% success rate and that they “never go to trial”, neither of which is

   true or, if they are true, they are deceptively misleading because the ‘success rate’ includes

   foreclosures, which is not a success by any measure.

          103.    In fact, the USCA Defendants have admitted that outside of a statutory rescission

   period, a timeshare contract can only be terminated “[i]n certain states and in limited

   circumstances” and that this usually entails “bringing a lawsuit against the timeshare company.”




                                                   35
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 36 of 51




          104.   USCA almost never brings lawsuits on behalf of consumers. Thus, the USCA

   Defendants know they are falsely advertising to the public – on one hand they tell every

   consumer that they have a 100% success rate, that they are selective in the cases they take, and

   that they have a plan and solution for their consumers, but on the other hand they have admitted

   that they have to bring lawsuits to even attempt to terminate a timeshare contract, an action

   USCA almost never takes.

          105.   The advertisements listed in Paragraphs 56, 72 through 79, and 85 through 104,

   together, the “False and Misleading Advertisements.”




                                                 36
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 37 of 51



          106.    None of the Defendants have a ‘process’ or ‘legal’ basis for ‘cancelling’ a

   consumer’s timeshare contract. Defendants, through USCA, Newton Group, and/or DC Law

   (and potentially other avenues) send form letters to Wyndham with little to no follow-up. Many

   of these letters are nonsensical, reference non-existent laws, reference irrelevant laws, and admit

   that the Wyndham Owners will default on their payment obligations. The letters admit that a

   default will occur because Defendants have instructed the Wyndham Owners to cease making

   payments and, in fact, have promised the Wyndham Owners that once the Wyndham Owners

   retain Defendants they (the Wyndham Owners) will never have to make another payment to

   Wyndham again.

          107.    When viewed as a whole, the False and Misleading Advertisements are not

   puffery. Thousands of consumers have fallen prey to Defendants’ false and/or deceptively

   misleading advertisements and have retained Defendants to render them illusory services. While

   Defendants will undoubtedly claim that no reasonable person would ever rely on their

   advertisements, such allegations are clearly inapposite and incompatible with the clear facts and

   reality. Those clear facts show the reality of consumer behavior: thousands of consumers have

   paid Defendants thousands or tens of thousands of dollars each for Defendants’ ‘guaranteed’,

   ‘safe’, ‘proven’, and ‘effective’ ‘process’, only to have their timeshare interests terminated,

   cancelled, defaulted, and/or foreclosed upon for non-payment. No rational consumer would pay

   such sums of monies to a third-party to achieve the same results (timeshare termination,

   cancellation, defaults, and/or foreclosures for non-payment) that they could achieve on their own

   through the simple act of not paying. Many timeshare owners, including Wyndham Owners,

   who pay Defendants for their illusory services ultimately suffer the same fate as any other

   consumer who simply elects not to make payments on their timeshare contracts; the only



                                                   37
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 38 of 51



   difference between many consumers who simply stop paying, and those who retain Defendants’

   illusory services, is that the later group of consumers lose additional thousands or tens-of-

   thousands of dollars to Defendants on top of what they lose by defaulting on their payment

   obligations.    Moreover, many of the False and Misleading Advertisements are considered

   ‘inherently deceptive’ by the Florida Bar.

          108.     Defendants false and deceptively misleading advertisements cause direct harm to

   Wyndham. The False and Deceptive Advertisements make false and/or deceptively misleading

   statements about both Defendants’ products and services, and Wyndham’s products and services.

   These statements both deceive consumers, including Wyndham Owners, into retaining

   Defendants’ services, but also damage Wyndham’s products and services in the eyes of the

   consuming public. Defendants exist for the sole purpose of interfering in Wyndham’s contracts

   with the Wyndham Owners. Because Wyndham Owners can be either a customer of Defendants,

   or a customer of Wyndham, but not both, they are competitors and there is a direct relationship

   between Defendants false and/or deceptively misleading advertising and harm to Wyndham in

   that the False and Misleading Advertisements are solely designed to induce Wyndham Owners

   into retaining Defendants, who then immediately instruct those Wyndham Owners to cease

   making payments to Wyndham.

                                           COUNT I
           Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1) (against all Defendants)

          109.     Wyndham adopts and realleges paragraphs 1 through 108 above as if fully set

   forth herein.

          110.     This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1).

          111.     Defendants willfully, deliberately, and egregiously made false or misleading

   statements of fact in their commercial advertisements and intended to mislead consumers. The

                                                   38
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 39 of 51



   statements described above and incorporated herein were literally false, either on their face or by

   necessary implication, as set forth herein.

          112.    The representations described above were commercial speech made by a

   defendant acting in competition to Wyndham by trying to interfere with Wyndham’s business

   relationships for Defendants’ own ill-gotten financial gain, for the purpose of influencing

   consumers to retain Defendants’ services, and were disseminated sufficiently to the timeshare

   owning public to constitute advertising or promotion within the timeshare industry.

          113.    Defendants’ false or misleading statements either deceived or had the capacity to

   deceive a substantial segment of the consuming public.

          114.    Defendants’ deception is material, in that it is likely to influence the consumers’

   decisions whether to retain Defendants’ services or to cease making payments to Wyndham or

   utilize the Ovation® Program, which is available to assist Wyndham Owners who may wish to

   exit their timeshare contracts with Wyndham. Defendants directly lie to the consuming public

   by ignoring the existence of the Ovation® Program and ignoring the options available to

   Wyndham Owners, instead telling consumers that Wyndham will do nothing to work with

   consumers.

          115.    Defendants are operating as direct competitors to Wyndham. Because of the

   nature of the TPE scams, a consumer can either be a customer of Wyndham or a customer of a

   TPE entity, but not both. This is because TPEs exist solely to induce consumers to breach their

   timeshare contracts, they have no other purpose. Thus, once a Wyndham Owner enters into an

   agreement with a TPE, the sole purpose of that agreement is to cause the breach or termination

   through other means of that Wyndham Owner’s agreement(s) with Wyndham, effectively

   converting that individual from a Wyndham Customer to a TPE customer.



                                                   39
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 40 of 51



          116.     Wyndham has been or is likely to be injured as a result of Defendants’ false

   and/or misleading statements.

          WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

   favor and against Defendants, jointly and severally, for damages, corrective advertising, and

   disgorgement of Defendants’ profits, together with interest thereon, an award of court costs, a

   determination that the instant civil action is an exceptional case and awarding Plaintiffs their

   attorneys’ fees, entry of preliminary and permanent injunctive relief, and for such other and

   further relief as the Court deems appropriate.

                                           COUNT II
             Tortious Interference with Contractual Relations (against all Defendants)

          117.     Wyndham adopts and realleges paragraphs 1 through108 above as if fully set

   forth herein.

          118.     This is a cause of action for tortious interference with contractual relations.

          119.     Wyndham has contractual relationships with its timeshare owners.

          120.     Defendants, by virtue of making misrepresentations to Wyndham Owners

   regarding their contracts and the existence of the Ovation® Program, and options available to

   them, have knowledge of these relationships.

          121.     As set forth herein, Defendants have intentionally procured the breach of these

   Wyndham contracts by soliciting Wyndham Owners and persuading them to hire Defendants to

   help cancel (in reality, breach) their contracts. Upon information and belief, Defendants also

   procure a breach by telling Wyndham Owners to stop paying their timeshare loans and

   maintenance fees and/or engaging in fraudulent transfers.

          122.     Defendants do not have justification or privilege in procuring the breach of such

   contractual relations, as Defendants are “a stranger to the business relationship” between

                                                     40
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 41 of 51



   Wyndham and its customers. See Treco Intern. S.A. v. Kromka, 706 F. Supp. 2d 1283, 1289

   (S.D. Fla. 2010) (quoting Salit v. Ruden, 742 So.2d 381, 385 (Fla. 4th DCA 1999)).

          123.     As a result of Defendants’ intentional conduct, certain of the breaching owners

   have terminated their contractual relationships with Wyndham before expiration of the terms of

   those contracts. Some of these breaching owners are current on their maintenance fees and would

   in certain instances keep their timeshare contracts but for Defendants’ wrongful actions.

          124.     Defendants’ ongoing conduct has caused and, if not permanently enjoined, will

   continue to cause irreparable harm to Wyndham in the disruption of customer and other

   contractual relations; therefore, Wyndham does not have an adequate remedy at law.

          125.     Defendants’ conduct is intentional and willful and entitles Plaintiffs to an award

   of punitive damages.

          WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

   favor and against Defendants, jointly and severally, for actual damages, together with interest

   thereon, punitive damages, an award of court costs, entry of preliminary and permanent

   injunctive relief, and for such other and further relief as the Court deems appropriate.

                                          COUNT III
    Violation of Florida’s Deceptive and Unfair Trade Practices Act (against all Defendants)

          126.     Wyndham adopts and realleges paragraphs 1 through 108 above as if fully set

   forth herein.

          127.     This is a cause of action for damages and permanent injunctive relief under

   Section 501.211, Fla. Stat.

          128.     Wyndham is a legitimate business enterprise under the Florida Deceptive and

   Unfair Trade Practices Act (“FDUTPA”).




                                                    41
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 42 of 51



           129.   Wyndham’s owners and prospective owners are consumers for purposes of

   FDUTPA.

           130.   Defendants are engaged in trade or commerce as those terms are defined by

   FDUTPA. Defendants are also engaged in timeshare transfer services as defined in Fla. Stat. §

   721.05(52) (“Transfer Interest Services”).

           131.   Defendants have violated Fla. Stat. § 721.17 by failing to comply with the state

   requirements for the transfer of interest and resale of transfer agreements pertaining to timeshare

   entities.

           132.   Defendants have offered and executed contracts titled “Deed / Title Transfer

   Service Contract” with multiple Wyndham customers.

           133.   In executing these Deed / Title Transfers, Defendants have never established an

   escrow account with an escrow agent prior to the agreement as required by Fla. Stat. §

   721.17(3)(c)(1).

           134.   Defendants are engaged in deceptive and unfair practices, including luring

   unsuspecting   timeshare    owners    into   Defendants    under   false   pretenses   and   using

   misrepresentations and high pressure sales tactics to convince Wyndham consumers to pay

   substantial fees to “cancel” their contracts with Wyndham, when, in many instances, cancellation

   is available to consumers directly from Wyndham at no cost through the Ovation® Program.

           135.   Wyndham is a party aggrieved by Defendants’ violation of FDUTPA.

           136.   Section 501.211(1), Fla. Stat., “permits a claim for injunctive relief by ‘anyone

   aggrieved’ by an unfair or deceptive act, which has occurred, is now occurring, or is likely to

   occur in the future.” Wyndham Vacation Resorts, Inc. v. Timeshare Direct, Inc., 123 So.3d 1149,

   1152 (Fla. 5th DCA 2012).



                                                   42
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 43 of 51



           137.    Under Section 510.211(1), Fla. Stat., “anyone aggrieved” includes a broader class

   of complainants than merely consumers; the scope of the injunctive remedy is also greater than

   the actual damage remedy under § 510.211(2), Fla. Stat. Id. See also, Kinger v. Weekly World

   News, Inc., 747 F.Supp. 1477, 1480 (S.D.Fla.1990).

           138.    As a result of Defendants’ actions, Wyndham has been damaged and aggrieved.

   Wyndham has suffered a loss, including financial loss, damages to its reputation, and loss of

   goodwill.

           139.    Wyndham’s losses will increase unless Defendants are permanently enjoined

   from continuing their deceptive and unfair business practices.

           140.    Wyndham will continue to suffer irreparable harm to its reputation and goodwill

   unless Defendants are permanently enjoined from continuing its deceptive and unfair business

   practices, and, as a result, Wyndham lacks an adequate remedy at law.

           141.    Wyndham is entitled to recover its attorney’s fees and costs from Defendants

   under Sections 501.2105 and 501.211, Fla. Stat.

           WHEREFORE, Plaintiffs respectfully request the Court enter preliminary and permanent

   injunctive relief against all Defendants, award Plaintiffs their costs, and for such other and

   further relief as the Court deems appropriate.

                                             COUNT IV
                               Civil Conspiracy (against all Defendants)

           142.    Wyndham adopts and realleges paragraphs 1 through 108 above as if fully set

   forth herein.

           143.    This is a cause of action for civil conspiracy to interfere with existing contractual

   relations and/or advantageous business relationships and for damages in excess of $75,000.00,

   exclusive of interest, attorney's fees and costs, and is within this Court's jurisdiction.

                                                     43
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 44 of 51



          144.    Defendants are parties to a civil conspiracy. Defendants had a common design,

   each having the intent and knowledge of the others’ intent to accomplish by concerted action

   unlawful purposes and/or lawful purposes by unlawful means.

          145.    Defendants conspired to do an unlawful act to cause Plaintiffs harm. Defendants

   acted in concert with a common design, scheme, or plan to bring about a desired result and/or

   accomplish a preconceived plan for financial gain to the detriment of Plaintiffs through unlawful

   and/or illegal means of interfering with Plaintiffs’ business relations with it owners and/or

   causing its owners to breach their contractual agreements with Plaintiffs. Defendants committed

   or engaged in overt acts in furtherance of their unlawful conspiracy to interfere with Plaintiffs

   business relations or to induce Plaintiffs’ customers to breach their contractual agreements.

          146.    Defendants conspired to interfere with Plaintiffs' business and contractual

   relationship with the Wyndham Owners and/or were directed by other Defendants to interfere

   with Plaintiffs' business and contractual relationship with the Wyndham Owners.

          147.    Defendants each performed and/or were directed by other Defendants to perform

   one or more overt actions in furtherance of their conspiracy as set forth hereinabove.

          148.    As a direct and proximate result of Defendants' civil conspiracy, Wyndham

   Owners have terminated, or have sought to terminate, their contractual relationship with

   Plaintiffs before the expiration of the terms of those contracts.

          149.    Defendants did not have any justification or privilege in procuring the breach of

   such business relationships. As a direct and proximate result of the foregoing, Plaintiffs suffered

   damages.

          150.    Defendants acted willfully and with malice in taking these actions.

          151.    Defendants are jointly and severally liable to Plaintiffs for Damages.



                                                    44
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 45 of 51



          152.     Defendants’ conduct is intentional and willful and entitles Plaintiffs to an award

   of punitive damages.

          WHEREFORE, Plaintiffs request the Court enter final judgment in their favor and

   against Defendants, jointly and severally, for actual damages, together with interest thereon,

   punitive damages, an award of court costs, entry of preliminary and permanent injunctive relief,

   and for such other and further relief as the Court deems appropriate.

                                                COUNT V
                        Violation of Florida Timeshare Act (against all Defendants)

          153.     Wyndham adopts and realleges paragraphs 1 through 108 above as if fully set

   forth herein.

          154.     This is a cause of action arising under the Florida Vacation Plan and Timesharing

   Act, Chapter 721, Florida Statutes.

          155.     Defendants are engaged in timeshare interest transfer services as defined in Fla.

   Stat. § 721.05(52) as they are collectively engaged in offering and providing goods and/or

   services relating to an offer or agreement to transfer ownership of a consumer resale timeshare

   interest, or assistance with or a promise of assistance in connection with the transfer of

   ownership of a consumer resale timeshare interest.

          156.     Defendants have violated the Florida Vacation Plan and Timesharing Act, Fla.

   Stat. § 721.17, by:

                   a.        failing to include in all agreements with Wyndham Owners the language

                             required by Fla. Stat. § 721.17(3)(b);

                   b.        failing to maintain and utilize the escrow account required by Fla. Stat. §

                             721.17(3)(c);




                                                      45
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 46 of 51



                   c.     requiring payment from Wyndham Owners immediately upon entering

                          into an agreement with any of the Defendants and not after services have

                          actually been performed, as required by the statute; and

                   d.     transferring timeshare interests to a transferee that does not have the

                          ability, means, or intent to pay all assessments and taxes associated with

                          the timeshare interest.

            157.   Because USCA charges more than $600 for its services, it is not exempt pursuant

   to Fla. Stat. § 721.17(3)(h)(2).

            158.   Because DC Law charges more than $600 for its services, it is not exempt

   pursuant to Fla. Stat. § 721.17(3)(h)(2).

            WHEREFORE, Plaintiffs respectfully request this Court enter final judgment in their

   favor and against Defendants, jointly and severally, for its actual damages, together with interest

   thereon, attorneys’ fees, and costs, and for such other and further relief as the Court deems

   appropriate.

                                            COUNT VI
             Tortious Interference with Current and Prospective Business Relationships
                                      (against all Defendants)

            159.   Wyndham adopts and realleges paragraphs 1 through 108 above as if fully set

   forth herein.

            160.   This is a cause of action for tortious interference with advantageous business

   relationships and for damages in excess of $75,000.00, exclusive of interest, attorney's fees and

   costs.

            161.   Plaintiffs have advantageous business relationships or prospective business

   relationships with identifiable third parties, specifically the Wyndham Owners. Plaintiffs expend



                                                    46
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 47 of 51



   considerable time and resources developing and cultivating current and prospective business

   relationships with its owners.

            162.   Defendants have actual, constructive, and/or specific knowledge of the

   relationships between Wyndham and the Wyndham Owners. The very fact that Plaintiffs have a

   business relationship with the Wyndham Owners is the basis under which Defendants sought to

   establish a relationship with the Wyndham Owners. Indeed, if it were not for the existence of the

   relationships between Wyndham and the Wyndham Owners, Plaintiffs would have no reason to

   exist.

            163.   Defendants, through various inter-related entities as described hereinabove, have

   successfully solicited Wyndham Owners and caused them to breach and/or terminate their

   relationships with Plaintiffs and, specifically, with WVR, WRDC, and/or SV.

            164.   As stated above, Defendants have intentionally and without justification interfered

   with Plaintiffs' relationships by convincing Wyndham Owners to immediately stop making any

   further payments under their contracts without any legal basis and/or by making frivolous and

   unsupported allegations against Wyndham.

            165.   Defendants have utilized improper and/or illegal means to interfere with

   Plaintiffs’ business relations.

            166.   Defendants' actions were done with improper motive and not made in good faith,

   but rather were made with the knowledge and predominant purpose to injure Plaintiffs or with

   reckless disregard for the attendant consequences naturally, directly, and proximately resulting

   from Defendants' actions and without reasonable grounds for Defendants to believe that their

   actions were justified and proper.




                                                   47
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 48 of 51



          167.     As a direct and proximate result of Defendants' intentional misconduct, Wyndham

   Owners have terminated, or have baselessly sought to terminate, their contractual relationship

   with Plaintiffs and, more specifically, WVR, WRDC, and/or SV, before the expiration of the

   terms of those contracts. These terminations, and attempted terminations, also interfere with

   Wyndham’s ability to enter into subsequent transactions with those same Wyndham Owners.

          168.     Defendants did not have any justification or privilege in procuring the breach of

   such business relationships and their interference with Plaintiffs’ business is willful and

   malicious.

          169.     Defendants’ interferences inference involves deceit, fraud, undue influence,

   misuse of inside information, sharp business practices, breach of fiduciary relationships,

   overreaching conduct, violation of ethical rules and/or constitutes unfair competition.

          170.     As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

          171.     Plaintiffs are entitled to damages against all Defendants jointly and severally.

          172.     Defendants’ conduct is intentional and willful and entitles Plaintiffs to an award

   of punitive damages.

          WHEREFORE, Plaintiffs respectfully request this Court enter final judgment in their

   favor and against Defendants, jointly and severally, for their actual damages, together with

   interest thereon, punitive damages, attorneys’ fees, and costs, and for such other and further

   relief as the Court deems appropriate.

                                            COUNT VII
                        Request for Injunctive Relief (against all Defendants)

          173.     Wyndham adopts and realleges paragraphs 1 through 172 above as if fully set

   forth herein.

          174.     This is a cause of action for temporary and permanent injunctive relief.

                                                    48
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 49 of 51



          175.    Defendants’ solicitation of Wyndham Owners using false and misleading

   advertising and their subsequent instruction to immediately terminate the Wyndham Owners’

   contracts with Plaintiffs is harming Plaintiffs and constitutes tortious interference with Plaintiffs’

   existing contractual and advantageous business relationships.

          176.    Defendants have engaged, continue to engage, and/or intend to further engage in

   the conduct described above.

          177.    Defendants’ actions present an immediate threat of irreparable harm to Plaintiffs,

   and Plaintiffs will suffer irreparable harm if Defendants, and their agents, affiliated companies or

   entities, representatives and employees, are not enjoined from this conduct.

          178.    The threat of irreparable harm is continuing because Defendants currently engage

   in an ongoing business whereby they solicit Wyndham Owners using the false and misleading

   advertising outlined above; and then convince the Wyndham Owners to immediately stop paying

   all mortgage, maintenance, and tax payments associated with their timeshares, regardless of

   whether any valid legal basis exists for the cancellation. These defaults result in loss of good

   will and damages to the customer relationship with other Wyndham Owners that are not in

   default and enjoying their Wyndham Contracts. Non-Defaulting Wyndham Owners will be

   forced to incur higher fees/payments as a result of the deficiencies caused by Defendants’

   ongoing actions.

          179.    Plaintiffs have no adequate remedy at law as damages will not address the harm

   Plaintiffs will suffer if Defendants are permitted to continue with this activity. Plaintiffs will

   have imminently thousands of dollars in delinquent mortgage, maintenance, and tax payments

   owed to them and will be forced to expend monies foreclosing on the timeshares to recoup these

   monies to no end as Defendants refuse to cease and desist from this tortious conduct.



                                                    49
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 50 of 51



          180.    There is a substantial likelihood that Plaintiffs will prevail on the merits of their

   claims against Defendants.

          181.    The injury and potential harm caused by Defendants' intentional inference with

   Plaintiffs' advantageous business relationships outweigh the harm, if any, that an injunction

   would cause to Defendants.

          182.    The issuance of the requested injunction will serve the public interest by

   protecting Plaintiffs' legitimate business interests and their timeshare owners, and by restraining

   the disruptive and tortious actions committed by Defendants.

          WHEREFORE, Plaintiffs demand a temporary and permanent injunction be entered

   against Defendants and their agents, representatives, employees, affiliates, and any others acting

   in concert or participating with Defendants and prohibiting Defendants from: (1) publishing false

   and misleading misrepresentations on their website or in any other electronic or print media or

   materials regarding Plaintiffs’ owners’ cancellation of their timeshare interest without any legal

   basis; (2) contacting or soliciting Plaintiffs’ owners and/or otherwise interfering with Plaintiffs’

   contractual and business relationships with their owners; and (3) taking or making any

   distributions, expenditures, or transfers, other than in the usual course of business, from any

   entity that Defendants directly, indirectly, or effectively control, including, but not limited to, the

   named Defendant entities, or any such entity that has received any funds from any of the

   Defendants. Plaintiffs further seek an award of as well their costs and attorneys’ fees and for all

   other relief this Court deems just and proper.




                                                     50
Case 9:18-cv-81251-DMM Document 1 Entered on FLSD Docket 09/14/2018 Page 51 of 51



   Dated: September 14, 2018

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                                       51
